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                            DECLARATION OF JOHN BOYD, JR.

        My name is John Boyd, Jr. I am over the age of 18 and fully competent to make this

declaration.

        1.     I am the Founder and President of the National Black Farmers Association

(NBFA). I am authorized to speak about NBFA’s activities as they relate to this matter.

        2.     I am a fourth-generation Black farmer who has been farming for over 38 years.

I currently farm soybeans, corn, wheat, and hay; I also raise approximately 100 head of beef

cattle on farms covering over 1,500 acres in Mecklenburg County, Virginia. I have been farming

in Mecklenburg County since 1983.

        3.     NBFA is a non-profit, membership-based organization that represents the interests

of Black farmers and ranchers. NBFA has over 116,000 members nationwide in 46 states,

consisting largely of Black farmers and ranchers. NBFA members vote on the organization’s

agenda items and resolutions in annual meetings.

        4.     A core part of NBFA’s mission is promoting education and advocacy regarding

civil rights, land retention, access to public and private loans, education and agricultural training,

and rural economic development for Black and other small farmers and ranchers.

        5.     As part of NBFA’s mission and in my capacity as NBFA President, I have for

decades advocated for legislation that provides loan forgiveness to Black farmers and ranchers.

For example, on July 19, 2019, I testified before Congress on behalf of NBFA, where I described

the United States Department of Agriculture’s (USDA) history of racial discrimination and

called on Congress to “set aside $5 Billion to help address the needs of black and other small

scale farmers.’1


1
 Testimony of J. Boyd (Appendix at 77, 79), U.S. House Hr’g re: Promoting Econ. Growth:
Exploring the Impact of Recent Trade Policies on the U.S. Econ. (June 19, 2019),
https://www.congress.gov/116/chrg/CHRG-116hhrg39451/CHRG-116hhrg39451.pdf


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       6.      NBFA has focused on the issue of loan forgiveness because it remedies how

USDA has long discriminated against Black farmers and ranchers in the agency’s lending

practices. To provide just one example, USDA frequently imposed on Black farmers and

ranchers various forms of supervised loan provisions that were rarely imposed on their white

counterparts. These provisions restrict how the loan can be spent—for instance, by requiring

certain purchases to be approved by a loan officer or limiting the suppliers from whom farm

equipment and supplies could be purchased.

       7.      These provisions cause significant harm because they lead to frequent delays in

the farmers’ access to equipment and supplies. Agriculture is a time-sensitive industry—the

planting season is narrow, and even minor delays can negatively impact a farmer’s crop yields.

       8.      USDA’s history of discrimination has disproportionately affected Black farmers

and ranchers. Due in major part to discriminatory practices such as these, Black farmers and

ranchers have faced distinct obstacles to paying off debts held by USDA. Accordingly, NBFA

has made loan forgiveness a priority issue in its advocacy efforts.

       9.      I have personal experience with USDA’s history of discrimination. When I first

sought USDA loans to start my own farming business in the 1980s, I was myself subjected to a

supervisory loan provision that required me to buy certain supplies from a specific supplier.

I also experienced direct racial discrimination, where USDA representatives referred to me using

racial slurs. In addition, at the time, Black farmers in my area seeking to apply for USDA loans

could only obtain appointments with USDA representatives on a single day of the week, whereas

white farmers were not subject to such restrictions.

       10.     NBFA’s participation in this lawsuit is a key part of its mission to advocate for

and defend programs that provide financial assistance and support to Black farmers and ranchers.



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      I declare under penalty of perjury that the foregoing is true and correct.



Executed on:     June 8, 2021        ____
                                                            JOHN BOYD, JR.
                                                            Founder & President
                                                            National Black Farmers Association




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                                         EXHIBIT 1
